          Case 1:21-cv-05339-SCJ Document 251 Filed 09/05/23 Page 1 of 3


Nathan Ochsner, US Dist Clk                          James N Hatten, US Dist Clk         Aug 28 23
515 Rusk St                                          75-2211 Ted Turner Dr SW
Houston TX 77CC2                                     Atlanta GA 30303
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R Allensworth B14522
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                                                   Nathan Ochsner
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